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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )               8:05CR116
       Plaintiff,                          )
                                           )
vs.                                        )               ORDER
                                           )
ROBERT MCFARLAND,                          )
                                           )
           Defendant.                      )

The Defendant's Amended Motion to Withdraw Counsel, Filing No. 218 is granted.

 IT IS ORDERED that Michael J. Decker, 500 South 18th Street, Omaha, Nebraska, (402)
345-7200, is appointed as attorney of record for the above-named defendant.

 IT IS FURTHER ORDERED that the Federal Public Defender shall forthwith provide the
court with a draft appointment order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance with the Criminal Justice Act
Plan for this district.

 IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18
U.S.C. §3006A(f). At the time of the entry of judgment herein, defendant shall file a current
and complete financial statement to aid the court in determining whether any portion of
counsel's fees and expenses should be reimbursed by defendant.

IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to Michael J.
Decker.

DATED this 19th day of October, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge
